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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TAMIKA LAMPKIN,                                 )
                                                )
          PLAINTIFF,                            )
                                                )
v.                                              ) Case No.
                                                )
BOARD OF EDUCATION OF THE                       )
CITY OF CHICAGO,                                )
                                                )
          DEFENDANT.                            )



          PLAINTIFF’S COMPLAINT WITH DEMAND FOR JURY TRIAL


          Now comes the Plaintiff, TAMIKA LAMPKIN (hereinafter “LAMPKIN”), and

files her Complaint against the Defendant, BOARD OF EDUCATION OF THE CITY OF

CHICAGO (hereinafter “BOE”) and says:

                               NATURE OF THE CLAIMS

     1.      This is an action for monetary damages, pursuant to Title VII of the Civil Rights

             Act of 1964, 42 U.S.C. § 2000e et seq. (hereinafter the “Title VII”); the Illinois

             Human Rights Act, 775 ILCS 5/1-101, et seq. (hereinafter the “IHRA”); and

             the Family and Medical Leave Act of 1996, 29 U.S.C. § 2601 et seq.

             (hereinafter the “FMLA”).

     2.      This action is to redress Defendant’s unlawful employment practices against

             Plaintiff, including Defendant’s unlawful discrimination against Plaintiff

             because of her race and Defendant’s retaliation against Plaintiff for exercising

             her rights under the FMLA, both leading to her unlawful termination.


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3.     This is an action for monetary damages pursuant to Title VII, the IHRA, and

       the FMLA.

4.     This Court has jurisdiction of the claims herein pursuant to 28 U.S.C. §§ 1331

       and 1343, as this action involves federal questions regarding deprivation of

       Plaintiff’s rights under the Title VII and the FMLA.

5.     This Court has supplemental jurisdiction over Plaintiff’s related claims arising

       under state law pursuant to 28 U.S.C. §1367(a).

6.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b) because a

       substantial part of the events or omissions giving rise to this action, including

       the unlawful employment practices alleged herein occurred in this district.

7.     Plaintiff, LAMPKIN, is a citizen of the United States, and is and was at all times

       material, a resident of the State of Illinois and resided in Cook County.

8.     Defendant, BOE, is a public entity in the State of Illinois and doing business in

       Cook County, Illinois.

9.     Defendant is an employer as defined by the all laws under which this action is

       brought and employs the requisite number of employees.

10.    Plaintiff has complied with all statutory prerequisites to filing this action.

11.    On or about August 25, 2015, Plaintiff dual-filed a claim with the Illinois

       Department of Human Rights and the Equal Employment Opportunity

       Commission (hereinafter “EEOC”) satisfying the requirements of 42 U.S.C. §

       2000e-5(b) and (e), based on race discrimination.




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12.    Plaintiff’s EEOC charge was filed within three hundred (300) days after the

       alleged unlawful employment practices occurred.

13.    On or about July 7, 2016 the EEOC issued to Plaintiff a Notice of Right to Sue.

14.    This complaint was filed within ninety (90) days of the issuance of the EEOC’s

       Right to Sue letter.

15.    At all material times, Plaintiff worked for Defendant in Chicago, IL.

16.    Plaintiff was employed by Defendant for over 5 years and during that time held

       the position of payroll manager at all times.

17.    While employed by Defendant, Plaintiff satisfactorily performed the job

       requirements of her position.

18.    Plaintiff’s race is Black.

19.    Plaintiff was subjected to harassment based on her race from approximately

       August of 2014 until her employment was terminated in August of 2015.

20.    Plaintiff was treated less favorably than similarly situated non-black employees

       during the same time period.

21.    Plaintiff reported the harassment, discrimination and disparate treatment to,

       among others, Defendant’s Human Resources Department.

22.    In June and July of 2015 Plaintiff took approved leave under the FMLA.

23.    Soon after returning from FMLA leave, Plaintiff’s employment was

       involuntarily terminated by BOE.




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24.    Defendant unlawfully terminated Plaintiff in a discriminatory and retaliatory

       manner based on her race and/or Plaintiff’s exercise of her rights under Title

       VII and the FMLA.

25.    Plaintiff has been damaged by Defendant’s illegal conduct.

26.    Plaintiff has had to retain the services of undersigned counsel and has agreed to

       pay said counsel reasonable attorneys’ fees.


                           Count 1: FMLA Retaliation


27.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated

       in Paragraphs 1- 26, above.

28.    Plaintiff was an employee eligible for protected leave under the FMLA.

29.    Defendant is and was an employer as defined by the FMLA.

30.    Plaintiff exercised or attempted to exercise her rights under the FMLA.

31.    Defendant retaliated against Plaintiff for exercising or attempting to exercise

       her FMLA rights.

32.    Defendant’s actions were willful, knowing and voluntary, and otherwise done

       with malice and/or reckless indifference for Plaintiff’s rights.

33.    Plaintiff was injured due to Defendant’s willful violations of the FMLA, for

       which she is entitled to legal relief.


                   Count 2: Race Discrimination under Title VII


34.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated

       in Paragraphs 1-26, above.


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35.    At all times relevant to this action, Plaintiff was in a protected category under

       Title VII because her race is Black.

36.    Defendant is prohibited under Title VII from discriminating against Plaintiff

       because of her race with regard to discharge, employee compensation, and other

       terms, conditions, and privileges of employment.

37.    Defendant violated Title VII by unlawfully terminating and discriminating

       against Plaintiff based on her race.

38.    Plaintiff has been damaged by the illegal conduct of Defendant.

39.    Defendant’s discriminatory conduct, in violation of Title VII, has caused the

       Plaintiff to suffer a loss of pay, benefits, and prestige.

40.    Defendant’s actions have caused Plaintiff to suffer mental and emotional

       distress, entitling her to compensatory damages.

41.    Defendant has engaged in discriminatory practices with malice and reckless

       indifference to the Plaintiff’s federally protected rights, thereby entitling her to

       punitive damages.


                  Count 3: Race Discrimination under the IHRA


42.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated

       in Paragraphs 1-26, above.

43.    At all times relevant to this action, Plaintiff was in a protected category under

       the IHRA because her race is Black.




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44.    Defendant is prohibited under the IHRA from discriminating against Plaintiff

       because of her race with regard to discharge, employee compensation, and other

       terms, conditions, and privileges of employment.

45.    Defendant violated the IHRA by unlawfully terminating and discriminating

       against Plaintiff based on her race.

46.    Plaintiff has been damaged by the illegal conduct of Defendant.

47.    Defendant’s discriminatory conduct, in violation of the IHRA, has caused the

       Plaintiff to suffer a loss of pay, benefits, and prestige.

48.    Defendant’s illegal actions have caused Plaintiff to suffer mental and emotional

       distress, entitling her to compensatory damages.

49.    Defendant has engaged in discriminatory practices with malice and reckless

       indifference to the Plaintiff’s statutorily protected rights, thereby entitling her

       to punitive damages.

                            Count 4: Retaliation under Title VII

50.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated

       in Paragraphs 1-26, above.

51.    Defendant intentionally retaliated against Plaintiff for engaging in protected

       activity under Title VII by involuntarily terminating her employment.

52.    Defendant’s conduct violates Title VII.

53.    The Plaintiff has satisfied all statutory prerequisites for filing this action.

54.    Defendant’s retaliatory conduct, in violation of Title VII, has caused the

       Plaintiff to suffer a loss of pay, benefits, and prestige.



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   55.      Defendant’s actions have caused Plaintiff to suffer mental and emotional

            distress, entitling her to compensatory damages.

   56.      Defendant has engaged in discriminatory practices with malice and reckless

            indifference to the Plaintiff’s federally protected rights, thereby entitling her to

            punitive damages.

                                   Count 5: Retaliation under IHRA

   57.      Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated

            in Paragraphs 1-26, above.

   58.      Defendant intentionally retaliated against Plaintiff for engaging in protected

            activity under the IHRA by involuntarily terminating her employment.

   59.      Defendant’s conduct violates the IHRA.

   60.      The Plaintiff has satisfied all statutory prerequisites for filing this action.

   61.      Defendant’s retaliatory conduct, in violation of the IHRA, has caused the

            Plaintiff to suffer a loss of pay, benefits, and prestige.

   62.      Defendant’s actions have caused Plaintiff to suffer mental and emotional

            distress, entitling her to compensatory damages.

   63.      Defendant has engaged in these illegal practices with malice and reckless

            indifference to the Plaintiff’s statutorily protected rights, thereby entitling her

            to punitive damages.


WHEREFORE, Plaintiff, requests this Honorable Court:

         Enter judgment requiring Defendant to pay back wages and back benefits found to

         be due and owing at the time of trial, front-pay, compensatory damages, including



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   emotional distress damages, in an amount to be proved at trial, liquidated damages,

   punitive damages, and prejudgment interest thereon;

   Grant Plaintiff her costs and an award of reasonable attorneys’ fees (including

   expert fees); and

   Award any other and further relief as this Court deems just and proper.

                                 JURY DEMAND

   Plaintiff hereby requests a trial by jury on all triable issues herein.


                                           Respectfully Submitted:


                                           /s/ Gary Martoccio
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